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 8
                                  UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES,                                   Case No. 2:12-CR-00025 MCE
12
                    Plaintiff,                        STIPULATION AND ORDER RESETTING
13                                                    STATUS CONFERENCE
            v.
14
     STANCIL ENTERPRISES, INC.,
15

16   JOSEPH STANCIL, JR., and

17   DANIEL MATHIS,

18                  Defendants.

19
20

21          This matter is currently set for status conference on May 3, 2012. Since the prior status

22   conference, the Court has reviewed and approved the deferred prosecution agreements for

23   defendants Joseph Stancil, Jr. and Daniel Mathis and those two defendants have therefore begun

24   their period of supervision pursuant to those agreements. The remaining defendant, Stancil

25   Enterprises, Inc., has previously pleaded guilty and been sentenced. As a result, there are no

26   issues to be presented to the Court until such time as the deferred prosecution period of one year

27   (for each individual defendant) is successfully completed or events warrant the parties returning

28   to the Court prior to the end of such deferred prosecution period.


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            Now, therefore, the parties jointly stipulate and agree that the status conference currently
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     set for May 3, 2012, at 9:00 a.m. be continued to June 6, 2013, at 9:00 a.m. Because the reason
 3
     for the continuance is the existence of a deferred prosecution agreement, the parties stipulate and
 4
     agree that time is appropriately excluded under the Speedy Trial Act by operation of Title 18,
 5
     United States Code section 3161(h)(2) and Local Codes 5 and I, deferral of prosecution by mutual
 6
     agreement and/or under Title 28, United States Code section 2902. The parties stipulate and
 7
     agree that these circumstances support a finding that the ends of justice served by the continuance
 8
     outweigh the interests of the public and the defendants in a speedy trial.
 9
10                                                         BENJAMIN B. WAGNER
     DATED: May 1, 2012                                    United States Attorney
11

12
                                                  By: /s/ Jean M. Hobler
13                                                    JEAN M. HOBLER
                                                      Assistant United States Attorney
14
     DATED: May 1, 2012
15
                                                           /s/ Donald H. Heller
16                                                         DONALD H. HELLER
                                                           Attorney for Defendant
17                                                         JOSEPH STANCIL, JR.
                                                           (as authorized on May 1, 2012)
18
     DATED: May 1, 2012
19
                                                           /s/ Mark Reichel
20                                                         MARK REICHEL
                                                           Attorney for Defendant
21                                                         DANEIL MATHIS
                                                           (as authorized on May 1, 2012)
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 1
                                                                         ORDER
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                               Based on the reasons set forth in the parties’ stipulation, the status conference currently set
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     for May 3, 2012, at 9:00 a.m. shall be continued to June 6, 2013, at 9:00 a.m. In light of the
 4
     deferred prosecution agreements currently in effect for the remaining defendants, time shall be
 5
     excluded under the Speedy Trial Act by operation of Title 18, United States Code section
 6
     3161(h)(2) and Local Codes 5 and I, deferral of prosecution by mutual agreement and/or under
 7
     Title 28, United States Code section 2902. The Court finds that the ends of justice served by the
 8
     continuance outweigh the interests of the public and the defendants in a speedy trial.
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10   Dated: May 2, 2012
11                                                                __________________________________
12                                                                MORRISON C. ENGLAND, JR
                                                                  UNITED STATES DISTRICT JUDGE
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